989 F.2d 492
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Melvin HILL, Plaintiff-Appellant,v.Eugene M. NUTH;  Shawn Jackson, Hearing Officer;  G. Barnes,C.O. II;  Alfonso M. Carter, Officer;  L. T.Jones, Defendants-Appellees.
    No. 92-7060.
    United States Court of Appeals,Fourth Circuit.
    Submitted:  January 4, 1993Decided:  March 24, 1993
    
      Appeal from the United States District Court for the District of Maryland, at Baltimore.  Alexander Harvey, II, Senior District Judge.  (CA-92-2717-H)
      Melvin Hill, Appellant Pro Se.
      D.Md.
      AFFIRMED.
      Before MURNAGHAN and NIEMEYER, Circuit Judges, and CHAPMAN, Senior Circuit Judge.
      PER CURIAM:
    
    
      1
      Melvin Hill appeals from the district court's order denying relief under 42 U.S.C. § 1983 (1988).  Our review of the record and the district court's opinion discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.  Hill v. Nuth, No. CA-92-2717-H (D. Md. Oct. 5, 1992).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    AFFIRMED
    